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         In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 16-1533V
                                   Filed: November 30, 2017
                                        UNPUBLISHED


    HEATHER RYAN, also known as,
    HEATHER CAHILL                                           Special Processing Unit (SPU);
                                                             Damages Decision Based on Proffer;
                        Petitioner,                          Influenza (Flu) Vaccine; Shoulder
    v.                                                       Injury Related to Vaccine
                                                             Administration (SIRVA)
    SECRETARY OF HEALTH AND
    HUMAN SERVICES,

                       Respondent.


Jeffrey S. Pop, Jeffrey S. Pop & Associates, Beverly Hills, CA, for petitioner.
Debra A. Filteau Begley, U.S. Department of Justice, Washington, DC, for respondent.

                               DECISION AWARDING DAMAGES1

Dorsey, Chief Special Master:

      On November 16, 2016, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the
“Vaccine Act”). Petitioner alleges that that her influenza (“flu”) vaccination on
September 30, 2015 caused her to suffer a shoulder injury related to vaccine
administration (“SIRVA”). Petition at 1. The case was assigned to the Special
Processing Unit of the Office of Special Masters.

      On May 26, 2017, a ruling on entitlement was issued, finding petitioner entitled to
compensation for SIRVA. On November 29, 2017, respondent filed a proffer on award
of compensation (“Proffer”) indicating petitioner should be awarded compensation of
$115,000.00 representing past and future pain and suffering, $8,500.00 representing

1
  Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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past and future wage loss, $700.00 representing past unreimbursed medical expenses,
and $615.06 for payment of a Medicaid lien. Proffer at 1. In the Proffer, respondent
represented that petitioner agrees with the proffered award. Based on the record as a
whole, the undersigned finds that petitioner is entitled to an award as stated in the
Proffer.

       Pursuant to the terms stated in the attached Proffer, the undersigned awards
the following compensation:

        A.      A lump sum payment of $124,200.00 which represents compensation
                for past and future pain and suffering ($115,000.00), past and future
                wage loss ($8,500.00), and past unreimbursed expenses ($700.00), in
                the form of a check payable to petitioner, and

        B.      A lump sum payment of $615.06, representing compensation for
                satisfaction of the State of Louisiana Medicaid lien, in the form of
                check payable jointly to petitioner and

                                              Optum
                                        75 Remittance Drive
                                             Suite 6019
                                       Chicago, IL 60675-6019

                Petitioner agrees to endorse this payment to the State of Louisiana.

This amount represents compensation for all damages that would be available under §
300aa-15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision.3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


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                IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                          OFFICE OF SPECIAL MASTERS

*************************************
HEATHER RYAN also known as          *
HEATHER CAHILL,                     *
                                    *
                  Petitioner,       *                         No. 16-1533V
                                    *                         CHIEF SPECIAL MASTER
v.                                  *                         NORA BETH DORSEY
                                    *
SECRETARY OF HEALTH AND             *
HUMAN SERVICES,                     *
                                    *
                  Respondent.       *
*************************************

              RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

I.     Items of Compensation

       The Court issued a Ruling on Entitlement on May 26, 2017. Based upon the evidence of

record, respondent proffers that petitioner should be awarded compensation as follows:

       A.       $115,000.00, for past and future pain and suffering,

       B.       $8,500.00, for past and future wage loss,

       C.       $700.00, for past unreimbursed medical expenses, and

       D.       $615.06, for payment of a Medicaid lien, which represents full satisfaction of any
                right of subrogation, assignment, claim, lien, or cause of action the State of
                Louisiana has made to or on behalf of petitioner from the date of her eligibility for
                benefits through the date of judgment in this case as a result of her vaccine-related
                injury, under Title XIX of the Social Security Act.

These amounts represent all elements of compensation to which petitioner would be entitled

under 42 U.S.C. § 300aa-15(a).1 Petitioner agrees.




1
       Should petitioner die prior to the entry of judgment, the parties reserve the right to move
the Court for appropriate relief. In particular, respondent would oppose any award for future
medical expenses, future lost earnings, and future pain and suffering.
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II.    Form of the Award

       Petitioner is a competent adult. Evidence of guardianship is not required in this case.

Respondent recommends that compensation provided to petitioner should be made as follows:

       A.       A lump sum payment of $124,200.00 in the form of a check payable to petitioner,
                and

       B.       A lump sum payment of $615.06, representing compensation for satisfaction of
                the State of Louisiana Medicaid lien, in the form of check payable jointly to
                petitioner and
                                              Optum
                                       75 Remittance Drive
                                            Suite 6019
                                      Chicago, IL 60675-6019

                Petitioner agrees to endorse this payment to the State of Louisiana.


Petitioner agrees.

                                                      Respectfully submitted,

                                                      CHAD A. READLER
                                                      Principal Deputy Assistant Attorney General

                                                      C. SALVATORE D’ALESSIO
                                                      Acting Director
                                                      Torts Branch, Civil Division

                                                      CATHARINE E. REEVES
                                                      Deputy Director
                                                      Torts Branch, Civil Division

                                                      ALEXIS B. BABCOCK
                                                      Assistant Director
                                                      Torts Branch, Civil Division




                                                 2
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                                          /s/ DEBRA A. FILTEAU BEGLEY
                                          DEBRA A. FILTEAU BEGLEY
                                          Trial Attorney
                                          Torts Branch, Civil Division
                                          U.S. Department of Justice
                                          P.O. Box 146
                                          Benjamin Franklin Station
                                          Washington, D.C. 20044-0146
                                          Phone: (202) 616-4181
Dated: November 29, 2017




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